      Case 2:17-cv-02797-NJB-DMD Document 77 Filed 12/12/18 Page 1 of 1




MINUTE ENTRY
KNOWLES, M.J.
DECEMBER 12, 2018

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

RODNEY GRANT                                                                CIVIL ACTION

VERSUS                                                                      NO. 17-2797

MARLIN GUSMAN, ET AL.                                                       SECTION “G” (3)

       On this date, the Motion to Withdraw Deemed Admissions Pursuant to F.R.C.P. 36(B)

[Doc. #71] came on for oral hearing before the undersigned. Present were William Most on behalf

of plaintiff and Blake Arcuri on behalf of various defendants. For the reasons stated on the record,

       IT IS ORDERED that the Motion to Withdraw Deemed Admissions Pursuant to F.R.C.P.

36(B) [Doc. #71] is GRANTED. However, no later than seven (7) days from the date of this

Minute Entry, defendants shall re-serve new responses to plaintiff’s requests for admission after

carefully considering their earlier responses to the requests.




                                              DANIEL E. KNOWLES, III
                                              UNITED STATES MAGISTRATE JUDGE




 MJSTAR: 00:05
